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Shiloh S. Hernandez
Melissa A. Hornbein
Western Environmental Law Center
103 Reeder’s Alley
Helena, Montana 59601
(406) 204-4861
hernandez@westernlaw.org
hornbein@westernlaw.org

Attorneys for Plaintiffs

Nathaniel Shoaff (pro hac vice)
Sierra Club
2101 Webster Street, Suite 1300
Oakland, CA 94612
(415) 977-5610
nathaniel.shoaff@sierraclub.org

Attorney for Plaintiff Sierra Club

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION

    MONTANA ENVIRONMENTAL                 Case No. 1:19-cv-00130-SPW-TJC
    INFORMATION CENTER, et al.,

               Plaintiffs,                PLAINTIFFS’ MOTION FOR
                                          SUMMARY JUDGMENT
         vs.

    DEB HAALAND et al.,1

               Defendants.



1
 Pursuant to Federal Rule of Civil Procedure 25(d), Secretary Haaland is
automatically substituted for her predecessor, Scott de la Vega.
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        Pursuant to Federal Rule of Civil Procedure 56(a), Plaintiffs Montana

Environmental Information Center, Indian People’s Action, 350 Montana, Sierra

Club, and WildEarth Guardians (together, “Conservation Groups”) move for

summary judgment on all claims in their Fourth Amended Complaint (Doc. 98).

This motion is supported by Conservation Groups’ accompanying brief and

attached declarations of Derf Johnson, Steve Gilbert, Michaelynn Hawk, Jeremy

Nichols, John Woodland, Brian Moench, M.D., and James Hansen, Ph.D.

        This Court should enter summary judgment for Conservation Groups

because there is no genuine dispute as to any material facts and Conservation

Groups are entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). For relief,

this Court should vacate the approval of the Area F expansion of the Rosebud

Mine.

        Respectfully submitted this 3rd day of May, 2021.

                                       /s/ Shiloh Hernandez
                                       Shiloh S. Hernandez
                                       Western Environmental Law Center
                                       103 Reeder’s Alley
                                       Helena, Montana 59601
                                       (406) 204-4861
                                       hernandez@westernlaw.org

                                       Melissa A. Hornbein
                                       Western Environmental Law Center
                                       103 Reeder’s Alley
                                       Helena, Montana 59601
                                       (406) 204-4852
                                       hornbein@westernlaw.org

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                              Attorneys for Plaintiffs Montana
                              Environmental Information Center, Indian
                              People’s Action, 350 Montana, WildEarth
                              Guardians, and Sierra Club

                              Nathaniel Shoaff (admitted pro hac vice)
                              Sierra Club
                              2101 Webster Street, Suite 1300
                              Oakland, CA 94612
                              (415) 977-5610
                              nathaniel.shoaff@sierraclub.org

                              Attorney for Plaintiff Sierra Club




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